                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION-FLINT


IN RE: Barbara Palmer                                      CHAPTER 7
                                                           CASE NO: 12-33124
                                                           JUDGE: Daniel S. Opperman
Debtor
___________________________________/

            STIPULATION TO ADJOURN THE EVIDENTIARY HEARING



       The parties hereto agree to the entry of an adjournment Order of the

evidentiary hearing scheduled on March 28, 2018 at 2 p.m., see the

attached proposed order.




/s/ Collene K. Corcoran                                    /s/ Linda Rawls
Collene K. Corcoran (P41500)                               Linda Rawls (P72190)
Chapter 7 Trustee                                          Attorney for Debtor
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  12-33124-dof      Doc 74     Filed 03/23/18    Entered 03/23/18 12:48:58     Page 1 of 2
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IN RE: Barbara Palmer                                       CHAPTER 7
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 Debtor
___________________________________/



                 ORDER ADJOURNING THE EVIDENTIARY HEARING


      This matter having come before the court by stipulation of the parties who have agreed to the

following terms and the Court being advised,


therefore:

         IT IS HEREBY ORDERED the above referenced matter is adjourned to June 13, 2018 at

2 p.m.


         IT IS FURTHER ORDERED that the Debtor’s Counsel shall serve a

copy the entered Order on the Debtor and any interested parties as applicable

within 7 days.




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  12-33124-dof      Doc 74     Filed 03/23/18     Entered 03/23/18 12:48:58        Page 2 of 2
